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Counsel to the Debtors
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UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK

In re:                                                 Chapter 11

JPA NO. 111 CO., LTD. and                              Case No.: 21-12075 (DSJ)
JPA NO. 49 CO., LTD.,
                                                       (Jointly Administered)
                            Debtors.
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                      NOTICE OF CANCELLATION
        OF AUCTION AND DESIGNATION OF STALKING HORSE BIDDER
    AS SUCCESSFUL BIDDER PURSUANT TO REVISED STALKING HORSE BID

              PLEASE TAKE NOTICE that on February 7, 2022, the United States
Bankruptcy Court for the Southern District of New York (the “Bankruptcy Court”)
entered an order [Docket No. 102] (the “Bidding Procedures Order”) 2 approving,
among other things, bidding and sale procedures for the Debtors’ proposed marketing
and sale of their assets (the “Sale”), and the Stalking Horse Bid as a Qualified Bid.

               PLEASE TAKE FURTHER NOTICE that the Debtors did not receive any
Qualified Bids, other than the Stalking Horse Bid, by the Bid Deadline. Therefore,
pursuant to the Bidding Procedures Order, (a) the Auction that was scheduled to
commence on March 8, 2022 at 10:00 a.m. (prevailing Eastern Time) is hereby
CANCELLED, and (b) the Stalking Horse Bidder is designated as the Successful Bidder
pursuant to a revised Stalking Horse Bid that contains additional terms that are
beneficial to the Debtors and their estates.




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    The Debtors in these Chapter 11 Cases are: JPA No. 111 Co., Ltd. and JPA No. 49 Co., Ltd. The
    Debtors’ corporate address is: Kasumigaseki Common Gate West Tower, 3-2-1 Kasumigaseki,
    Chiyoda-Ku, Tokyo 100-0013.

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    Capitalized terms not otherwise defined herein have the meanings ascribed to such terms in the
    Bidding Procedures Order.
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              PLEASE TAKE FURTHER NOTICE that the Debtors intend to file a
revised Stalking Horse Purchase Agreement (the “Revised Stalking Horse Purchase
Agreement”) consistent with the revised Stalking Horse Bid prior to the Sale Hearing.

              PLEASE TAKE FURTHER NOTICE that the Debtors will seek entry of an
order approving the Sale pursuant to the Revised Stalking Horse Purchase Agreement
at the Sale Hearing that is currently scheduled to be held on March 14, 2022 at
11:00 a.m. (prevailing Eastern Time) before the Honorable David S. Jones, United States
Bankruptcy Judge, at the Court, located at One Bowling Green, New York, New York
10004.

               PLEASE TAKE FURTHER NOTICE that copies of the Bidding
Procedures Order and all other documents and pleadings referenced in this notice or
pertaining to these Chapter 11 Cases can be viewed and/or obtained by
(i) accessing the Bankruptcy Court’s website for a fee, or (ii) by contacting the Office of
the Clerk of the Bankruptcy Court. Please note that a PACER password is required to
access documents on the Bankruptcy Court’s website.

Dated: March 8, 2022
       New York, New York                 JPA NO. 111 CO., LTD. and
                                          JPA NO. 49 CO., LTD.
                                          Debtors and Debtors in Possession
                                          By their Counsel
                                          TOGUT, SEGAL & SEGAL LLP
                                          By:


                                          /s/ Kyle J. Ortiz
                                          Frank A. Oswald
                                          Kyle J. Ortiz
                                          Bryan M. Kotliar
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